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04/22/2022 09:08 AM CDT




                                                       - 280 -
                               Nebraska Supreme Court Advance Sheets
                                        311 Nebraska Reports
                                  STATE EX REL. COUNSEL FOR DIS. v. KRATINA
                                              Cite as 311 Neb. 280



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                             v. Mark D. Kratina, Sr., respondent.
                                                  ___ N.W.2d ___

                                        Filed March 25, 2022.    No. S-21-686.

                    Original action. Judgment of disbarment.

                 Heavican, C.J., Miller‑Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                    Per Curiam.
                                    INTRODUCTION
                  This case is before the court on the voluntary surrender
               of license and the motion to terminate proceedings filed by
               the respondent, Mark D. Kratina, Sr., on January 25, 2022.
               The court accepts the respondent’s voluntary surrender of his
               license and enters a judgment of disbarment. The respond­
               ent’s motion to terminate proceedings is moot and, accord-
               ingly, overruled.

                                 STATEMENT OF FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on July 2, 1976, and at all times relevant
               to this proceeding, he was engaged in the practice of law in
               Omaha, Nebraska. On January 25, 2022, the respondent filed
               a voluntary surrender of his license to practice law. He stated
               that on August 5, 2021, the chairperson of the Committee on
               Inquiry of the Second Judicial District filed an application
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. KRATINA
                       Cite as 311 Neb. 280
for temporary suspension of the respondent’s license, and on
September 30, 2021, the respondent was suspended from the
practice of law. He has not been reinstated.
   The respondent states that for purposes of this voluntary
surrender, he knowingly does not challenge or contest the truth
of allegations and waives all proceedings against him. He thus
acknowledges that without the knowledge or consent of his
clients, the respondent withdrew his clients’ funds and misap-
propriated them for his own use. Subsequently, the respondent
made false statements to another attorney and to the Counsel
for Discipline to the effect that the funds had been maintained
in the trust account.
   The Counsel for Discipline attempted to audit the respond­
ent’s trust accounts, but the respondent failed to produce
any of the requested documents. The Counsel for Discipline
served a subpoena duces tecum on the respondent’s bank to
obtain the respondent’s trust account bank statements, which
revealed that he misappropriated his clients’ funds in June and
August 2017.
   The Counsel for Discipline has continued to examine the
respondent’s trust accounts, which has raised further con-
cerns with respect to costs and advanced expenses paid to the
respondent from the same clients’ settlements. The respondent
states that he has provided to the Counsel for Discipline all
reasonably available documentation with regard to the costs
and advanced expenses, including written testimony from his
office staff showing the records relied on to invoice for costs
and expenses. He has provided the Counsel for Discipline with
settlement sheets for all of his personal injury clients from June
2017 to June 2021 whose settlements would have been run
through his trust account. He states that no client has failed to
receive funds that he or she was due.
   The respondent has been previously disciplined by this
court. On January 5, 2001, the respondent was publicly rep-
rimanded when his negligence led to a discrepancy in his
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. KRATINA
                       Cite as 311 Neb. 280
trust account. And on April 4, 2008, the respondent was sus-
pended for 60 days after advancing sums to a client for trans-
portation and rent.
   The respondent stated that he voluntarily surrenders his
privilege to practice law in the State of Nebraska; waives his
right to notice, appearance, or hearing prior to the entry of an
order of disbarment; and consents to the entry of an immediate
order of disbarment, with special conditions.
                          ANALYSIS
   Neb. Ct. R. § 3‑315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal Charge
      has been filed, suggested, or indicated against a member,
      the member may voluntarily surrender his or her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge and
      waives all proceedings against him or her in connection
      therewith.
Pursuant to § 3‑315 of the disciplinary rules, we find that the
respondent has voluntarily surrendered his license to practice
law and knowingly does not challenge or contest the truth of
the allegations made against him. Further, the respondent has
waived all proceedings against him in connection therewith.
We further find that the respondent has consented to the entry
of an order of disbarment, including the special conditions set
forth below. The Counsel for Discipline does not oppose the
voluntary surrender on conditions.
                       CONCLUSION
   Upon due consideration, the court accepts the respondent’s
voluntary surrender of his license to practice law, finds that
the respondent should be disbarred, and hereby orders him
disbarred from the practice of law in the State of Nebraska,
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. KRATINA
                       Cite as 311 Neb. 280
effective immediately. We impose the following special condi-
tions upon the respondent:
         (1) The respondent will not seek readmission to the bar
      of Nebraska or any other court or tribunal which regulates
      the practice of law.
         (2) In the event that the respondent attempts to seek
      readmission to the practice of law, his judicial admissions
      in this case regarding the motion for temporary suspen-
      sion will serve as good cause why any such application
      for admission should be denied.
         (3) The respondent knowingly, intelligently, and volun-
      tarily waives any objection to the procedure by which this
      court enters any order accepting his voluntary surrender
      and imposes any special conditions.
         (4) This order shall not prohibit the Committee on
      Inquiry, the Counsel for Discipline, or this court from ini-
      tiating any investigation into new or different charges that
      were not reasonably known to the Committee on Inquiry
      or the Counsel for Discipline.
         (5) Any violation by the respondent to the terms of the
      order approving the voluntary surrender of his license to
      practice law may be enforced by the direct contempt pow-
      ers of this court.
   The respondent shall forthwith comply with all terms of
Neb. Ct. R. § 3‑316 (rev. 2014) of the disciplinary rules, and
upon failure to do so, he shall be subject to punishment for
contempt of this court. Accordingly, the respondent is directed
to pay costs and expenses in accordance with Neb. Rev. Stat.
§§ 7‑114 and 7‑115 (Reissue 2012) and Neb. Ct. R. §§ 3‑310(P)
(rev. 2022) and 3‑323 of the disciplinary rules within 60 days
after an order imposing costs and expenses, if any, is entered
by the court.
   The respondent’s motion to terminate proceedings is over-
ruled as moot.
                                     Judgment of disbarment.
